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             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION
                                   )
UNITED STATES OF AMERICA,          ) Case No. CR 16-19-GF-BMM
                                   )
         Plaintiff,                )
                                   ) ORDER
    v.                             )
                                   )
ENCORE SERVICES, LLC, ZACHARY )
BROOKE ROBERTS, MARTIN GASPER )
MAZZARA, and RICHARD LEE           )
BROOME,                            )
                                   )
         Defendants.               )

        THE COURT, having reviewed Defendants’ Unopposed Joint Motion for

Waiver of Appearance at Arraignment and accompanying Waivers of Personal

Appearance, the United States having no objection thereto, and good cause

appearing therefor,

        IT IS HEREBY ORDERED that Defendants’ Unopposed Joint Motion for

Waiver of Appearance at Arraignment (Doc. 114) is GRANTED. The Court

accepts the written waivers submitted by Defendants. Accordingly, Defendants

need not personally appear at the January 10, 2017 arraignment.


ORDER                                                                PAGE 1
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        IT IS FURTHER ORDERED that Eric Henkel, counsel for Defendants

Zachary Brooke Roberts and Encore Services, LLC, shall be allowed to appear

specially at the January 10, 2017 arraignment on behalf of Defendants Richard Lee

Broome and Martin Gasper Mazzara.

        DATED this 14th day of December, 2016.




ORDER                                                                PAGE 2
